Case 2:18-cv-02490-R-AS Document 9 Filed 03/28/18 Page 1 of 3 Page ID #:49




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11 Turner Entertainment Networks, Inc.
12
                                  UNITED STATES DISTRICT COURT
13
                  CENTRAL DISTRICT OF CALIFORNIA, WESTERN DIVISION
14
15
   TURNER ENTERTAINMENT                           Case No. 2:18-cv-2490 R (ASx)
16 NETWORKS, INC.,
17                   Plaintiff,                   PLAINTIFF’S APPLICATION TO
                                                  FILE PRODUCTION SERVICES
18            vs.                                 AGREEMENT UNDER SEAL
19 MORGAN SPURLOCK, and                           Judge: Hon. Manuel L. Real
   WARRIOR POETS INC.,
20
           Defendants.
21
22 TO THE COURT AND ALL PARTIES:
23                   PLEASE TAKE NOTICE that Plaintiff Turner Entertainment
24 Networks, Inc. (“TEN”), by and through its attorneys, respectfully moves for
25 permission to file the Production Services Agreement under seal. This Motion is
26 made pursuant to Local Rule 79-5.2.2(a) and is supported by the attached
27 memorandum of points and authorities and all papers and pleadings on file herein.
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              PLAINTIFF’S APPLICATION TO FILE PRODUCTION SERVICES AGREEMENT UNDER SEAL
Case 2:18-cv-02490-R-AS Document 9 Filed 03/28/18 Page 2 of 3 Page ID #:50




1 DATED: March 28, 2018                    FREEBORN & PETERS LLP
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                                           By:       /s/ Neal H. Levin
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                                                 NEAL H. LEVIN
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6                                          MUNGER, TOLLES & OLSON LLP

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                                           By:       /s/ Tamerlin J. Godley
9                                                TAMERLIN J. GODLEY
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                                           Attorneys for Plaintiff TURNER
11                                         ENTERTAINMENT NETWORK, INC.
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              PLAINTIFF’S APPLICATION TO FILE PRODUCTION SERVICES AGREEMENT UNDER SEAL
Case 2:18-cv-02490-R-AS Document 9 Filed 03/28/18 Page 3 of 3 Page ID #:51




 1                  MEMORANDUM OF POINTS AND AUTHORITIES
 2                  Plaintiff Turner Entertainment Networks, Inc. (“TEN”) respectfully
 3 requests permission to file under seal the Production Services Agreement (the
 4 “PSA”) attached as Exhibit A to its Complaint and discussed in its Memorandum of
 5 Points and Authorities in Support of Motion for Preliminary Injunction.
 6                  Federal Rule of Civil Procedure 26(c) allows a court to order a
 7 document filed under seal with respect to dispositive motions where a compelling
 8 reason is shown.
 9                  The PSA contains confidential and proprietary material, which would
10 give other businesses a competitive advantage over TEN were they to have access to
11 it. This is a compelling reason to file the PSA under seal. See Kamakana v. City &
12 Cty. of Honolulu, 447 F.3d 1172, 1180 (9th Cir. 2006). The fact that the public
13 release of a document will cause “competitive harm to a business” weighs strongly
14 in favor of sealing. Apple Inc. v. Samsung Elecs. Co., 727 F.3d 1214, 1221-22 (Fed.
15 Cir. 2013). The applicable provisions of the PSA are quoted in TEN’s papers and it
16 is only the remaining provisions, which are not applicable to the current dispute, that
17 TEN desires to keep confidential.
18
     DATED: March 28, 2018                 FREEBORN & PETERS LLP
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                                           By:       /s/ Neal H. Levin
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                                                 NEAL H. LEVIN
22
23                                         MUNGER, TOLLES & OLSON LLP

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25                                         By:       /s/ Tamerlin J. Godley
                                                 TAMERLIN J. GODLEY
26
27                                         Attorneys for Plaintiff TURNER
                                           ENTERTAINMENT NETWORK, INC.
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              PLAINTIFF’S APPLICATION TO FILE PRODUCTION SERVICES AGREEMENT UNDER SEAL
